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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

JACK KLEIN                                       :           CIVIL ACTION NO.
                                                 :
                       Plaintiff,                :
                                                 :
               v.                                :
                                                 :
SOLOMON AND SOLOMON, P.C.,                       :
and JULIE B. SOLOMON, ESQ.                       :
                                                 :
                       Defendants.               :           NOVEMBER 15, 2010


                                           COMPLAINT


       Plaintiff, Jack Klein (“Plaintiff”), brings this action against defendants, Solomon and

Solomon, P.C. (“Solomon and Solomon”) and Julie B. Solomon, Esq. (“Julie Solomon”)

(collectively “Defendants”) for violation of the Fair Debt Collections Practices Act, 15 USC §

1692 et seq (“FDCPA”). Defendants violated multiple provisions of the FDCPA in an attempt to

collect an alleged debt owed by the Plaintiff.

       Plaintiff seeks to recover damages suffered as a result of such violations.



                                      JURISDICTION AND VENUE.

       1. Federal jurisdiction is based upon the existence of a federal claim or controversy and

is invoked under 15 U.S.C. § 1692k and 28 U.S.C. § 1331, without regard to jurisdictional

amount or diversity of citizenship.

       2. The jurisdiction of this Court may also be founded on diversity jurisdiction pursuant

to 28 U.S.C. § 1332, as Solomon and Solomon maintains its principal place of business in New

York and Julie Solomon resides in New York while Plaintiff is a resident of the State of
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Connecticut. Further, the amount in controversy, including the value of the injunctive relief

requested, exclusive of interests and costs, exceeds $ 75,000.00.

       3. Venue in this Court is proper under 28 U.S.C. § 1391, in that all defendants regularly

conduct business in the District of Connecticut, all the events, occurrences, and property that are

relevant to this case occurred and/or are located in this District.



                                           THE PARTIES.

       4. The Plaintiff, Jack Klein, a natural person over the age of 18, resides at 1763 South

Britain Rd, Southbury, CT in the County of New Haven.

       5. The Defendant, Solomon and Solomon is a law firm registered as a professional

corporation in the State of New York with offices and a place of business located at 5 Columbia

Circle, PO Box 15109, Albany, NY 12212-5019. It maintains a Connecticut Juris Number

(CTJuris # 421261) in this District and it regularly transacts business in Connecticut.

       6. Defendant, Julie Solomon (CTJuris # 423930) is an attorney employed by the

Defendant Solomon and Solomon and maintains an address at 5 Columbia Circle, PO Box

15109, Albany, NY 12212-5019.



                                      STATEMENT OF FACTS.

       7. CitiMortgage, Inc., a New York corporation, claims that Plaintiff owes a debt secured

by the property located at 1763 S Britain Rd, Southbury, CT. (the “Alleged Debt”).


       8. The Alleged Debt was an obligation, or alleged obligation, to pay money for personal,

family, and household purposes.




                                                  2
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           9. Plaintiff is a natural person obligated or allegedly obligated to pay the Alleged Debt

and is therefore a “consumer” as defined pursuant to 15 U.S.C. §1692a(3).


           10. Solomon and Solomon has been the firm of record in connection with the collection

of thousands of debt collection lawsuits during the last 10 years.


           11. Solomon and Solomon regularly, directly or indirectly, collect, or attempt to collect

debts owed, due, or asserted to be owed to another.


           12. Solomon and Solomon is a “debt collector” under 15 U.S.C. §1692a(6).


           13. Julie B. Solomon regularly collects or attempts to collect debts, directly or indirectly,

owed or due or asserted to be owed or due another.


           14. Julie Solomon is a “debt collector” under 15 U.S.C. §1692a(6).


           15. At all times complained of herein, Solomon and Solomon was the firm of record for

the lawsuit entitled, CitiMortgage, Inc. v. Jack Klein, UWY-CV-09-5015402S1, initiated in the

Waterbury Superior Court in the Judicial District of Waterbury and filed on October 9, 2009 (the

“Action”).


           16. No individual attorney of the firm has filed an appearance in the Action lieu of, or in

addition to that of Solomon and Solomon. All attorneys have used the firm’s Juris number in

their pleadings.


           17. Solomon and Solomon employs many attorneys who are also debt collectors under 15

U.S.C. §1692a(6) and is required to oversee the activities of the employees and attorneys it

employs.

1
    Docket is attached as “Exhibit A”


                                                     3
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       18. Julie Solomon, at all times herein, acted within the scope of her employment and in

furtherance of her employer's business.


       19. Defendants made multiple false, deceptive, or misleading representations while

conducting the Action.


       20. Defendants brought action against Plaintiff to wrongfully collect the Alleged Debt.


       21. Defendants used and continue to use unfair acts, deceptive practices, and wrongful

means in attempts to collect the Alleged Debt.


       22. Plaintiff does not base this action on whether he owes the Alleged Debt and/or

whether the Defendant is the right party to collect. Rather, Plaintiff alleges that Defendants used

unfair acts, deceptive practices, and wrongful methods and means prior to, and during,

Defendants attempt to collect said alleged debt.


       23. Plaintiff has suffered and continues to suffer: (a) monetary damages; (b) an

ascertainable loss of money or property; (c) humiliation, mental pain and anguish; and (d)

damages to his credit report and reputation, all as a direct and proximate result of Defendants’

conduct and willful, wanton and intentionally reckless disregard for the Plaintiff’s rights.



                    CLAIM ONE - AS TO DEFENDANT JULIE SOLOMON, ESQ.

Count One - Violations of Fair Debt Collection Practices Act 15 U.S.C. §1692 et seq. for
False, Misleading, and Deceptive Methods in Litigation and Collection of the Alleged Debt.

       24. Plaintiff alleges, recites, and incorporates by reference each allegation, statement,

and/or representation contained in paragraphs 1-23, as if fully restated herein.




                                                   4
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          25. On, 9/28/2010, Julie Solomon filed a Request to Amend and Amendment, Motion to

Amend Caption (Docket Entry No. 126.00) (“Request to Amend”). The Request to Amend is

hereby incorporated herein as if fully restated herein.2


          26. In the Motion to Amend Caption, Julie Solomon stated that the proper plaintiff was

Citibank, N.A. not CitiMortgage, Inc.


          27. Julie Solomon made false and misleading representations regarding the identity of the

debt collector in the Complaint, dated 10/09/2009 (the “Complaint”). The Complaint is hereby

incorporated herein as if fully restated herein.3


          28. Julie Solomon made further false and misleading representations in the Complaint.


          29. Julie Solomon alleged in the Complaint that CitiMortgage, Inc. had “extended credit

under a credit installment agreement” to Plaintiff prior to the commencement of the action to

collect the Alleged Debt.


          30. Plaintiff never entered into a credit installment agreement with CitiMortgage, Inc.


          31. Julie Solomon alleged in the Complaint that CitiMortgage, Inc. is a National Banking

Association.


          32. CitiMortgage, Inc. is not a National Banking Association.


          33. Julie Solomon’s false and misleading representations were intentional as Julie

Solomon knew that those representations in the Complaint were false.




2
    Attached as “Exhibit B”.
3
    Attached as “Exhibit C”.


                                                    5
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          34. Julie Solomon violated her duty pursuant to 15 U.S.C. §1692 et seq. by failing to

disclose that she had made false and misleading representations in the Complaint until

4/15/2010.


          35. On 1/28/2010, Plaintiff filed a Request to Revise requesting that the Defendant correct

the false statements. (Docket Entry No. 104.00) (“Request to Revise”).


          36. Julie Solomon did not respond to the Request to Revise within the 30 days required by

the Connecticut Practice Book.


          37. On 4/1/2010, Plaintiff filed a Motion to Compel (Docket Entry No. 112.00).


          38. Julie Solomon did not correct such false allegations until three days after the court

ordered her to comply with Plaintiff’s Request to Revise. (Court Order, Docket Entry No.

112.10).


          39. On 4/15/2010, Julie Solomon made false, deceptive, and misleading statements in the

Revised Complaint (Docket Entry No. 115.00). The Revised Complaint is hereby incorporated

herein as if fully restated herein.4


          40. In the Revised Complaint, Julie Solomon claims that her client, CitiMortgage, Inc., is

a National Banking Association. (See Paragraph 1 of Revised Complaint).


          41. CitiMortgage, Inc. is not a National Banking Association. It is not listed on the Office

of the Comptroller of the Currency’s list of National Banks.


          42. CitiMortgage, Inc. is a loan servicer.



4
    Attached as “Exhibit D”.


                                                       6
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          43. Julie Solomon alleged in the Revised Complaint that Plaintiff “entered into a

Promissory Note with Mortgage It, Inc.” (See Paragraphs 3 and 4 of Revised Complaint).


          44. Julie Solomon further alleged in the Revised Complaint that Mortgage It, Inc. later

assigned said Promissory Note to CitiMortgage, Inc. (see Paragraphs 3 and 4 of Revised

Complaint).


          45. Julie Solomon deleted the false allegation that CitiMortgage, Inc. had “extended credit

[to Plaintiff] under a credit installment agreement.”


          46. Julie Solomon also submitted an Affidavit of Debt that contained false, misleading,

and contradictory information. The Affidavit of Debt is hereby incorporated herein as if fully

restated herein.5


          47. Julie Solomon filed a Motion for Default seeking a default judgment against the

Plaintiff on 12/11/2009 with the Affidavit of Debt in support of the Motion for Default by

Courtney Beaver dated 8/31/2009.


          48. Paragraph five of the Affidavit stated that CitiMortgage, Inc. had been retained to

collect the debt. Paragraph six contradicted paragraph five, stating CitiMortgage, Inc. was the

owner of the debt.


          49. Julie Solomon made false, deceptive, and misleading statements related to the

discovery sought by Plaintiff.


          50. On 12/31/2009, Plaintiff’s counsel filed Admissions, Interrogatories, and Requests for

Production based on the representations in the Complaint.

5
    Attached as “Exhibit E”.


                                                    7
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          51. Julie Solomon’s 2/10/2010 responses to the Plaintiff’s Interrogatories, Request for

Production, and Admission also contained false, deceptive, and misleading representations.

Each is hereby incorporated by reference as if fully recited herein.6


          52. On 2/22/2010, the Court ordered Julie Solomon to respond to all discovery requests

without any objection (Docket Entry No. 109.10).


          53. On 4/05/10, Julie Solomon objected, despite the Court’s Order, to Questions 18, and

19, and 22 in her Response to Interrogatories claiming that the questions were irrelevant. (Docket

Entry No. 113.00).


          54. Julie Solomon objected to those questions in a false, deceptive, or misleading effort to

deprive the Plaintiff a meaningful and thorough discovery.


          55. Julie Solomon did not have the authority to object under Connecticut Practice Book

§13-7(a)(2) – §13(a)(4), §13-10(a), and, in relevant part, §13-10(b).


          56. Julie Solomon failed to respond to all discovery requests and never fully complied

with the Court Order.


          57. On 4/5/2010, Julie Solomon filed a “Coversheet: Plaintiff’s Response to the

Defendant’s Interrogatories”, which is hereby incorporated by reference as if fully stated herein.

(Docket Entry No. 113.00).7


          58. In Section 1iii of the “Coversheet: Plaintiff’s Response to Defendant’s

Interrogatories”, Julie Solomon’s client claimed that the only documents supporting, tending to

support, contradicting, tending to contradict, or refuting its claim that it was the Owner of

6
    Docket Entry Nos. 107.00 & 108.00, attached as “Exhibit F”.
7
    Attached as “Exhibit G”.


                                                         8
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Plaintiff’s account that it knew existed, or previously existed, were the Promissory Note and

Mortgage and the Assignment of the Mortgage.


       59. That statement was false as other documentation exists that shows this fact.


       60. Julie Solomon knew that additional records existed or had existed.


       61. A failure to know the existence of such records would demonstrate a reckless

disregard for the truth.


       62. In either instance, Julie Solomon made misrepresentations to the court by submitting

such a response.


       63. Julie Solomon’s representations were false, deceptive, and or misleading pursuant to

15 U.S.C. §1692e and §1692e(10).


       64. The misrepresentations were self-serving responses intended to deprive the Plaintiff of

discovery in violation of the Connecticut Practice Book and the Connecticut General Statutes

§52-197.


       65. Julie Solomon’s wanton and intentional actions demonstrate a reckless disregard for

the pain, hardship, and suffering caused by such unfair and deceptive debt collection practices.


       66. Julie Solomon purposely uses unfair collection practices to deprive litigants of their

property by using false and unfair representations, deceptive and/or wrongful means, and

vexatious methods to increase the cost of litigation.


       67. Julie Solomon’s conduct represents her contribution to Solomon and Solomon’s debt

collection strategy.



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       68. Julie Solomon engaged in the use of an instrumentality of interstate commerce or

through mailings in a business, the purpose of which was the collection or attempted collection

of consumers debts owed or due or asserted to be owed.


       69. Many of Julie Solomon’s filings misrepresented the importance, cost, and purpose of

the statements, giving a false impression of the character, amount, or legal status of the Alleged

Debt in violation of 15 U.S.C. §§ 1692e.


       70. Julie Solomon’s false representation of the character, amount, or legal status of the

Alleged Debt violated 15 U.S.C. § 1692e(2)(A).


       71. Julie Solomon’s false representations throughout her services rendered for the

collection of the Alleged Debt violated 15 U.S.C. § 1692e(2)(A).


       72. Julie Solomon violated 15 U.S.C. § 1692e(8) by communicating or threatening to

communicate credit information which was known, or which should have been known, to be

false, including the failure to communicate that the Alleged Debt was disputed.


       73. Julie Solomon violated 15 U.S.C. § 1692e(9) by using and distributing written

communications that were falsely represented as documents authorized, issued, or approved by a

court, official, or agency of the government to collect, or attempt to collect, the Alleged Debt.


       74. Julie Solomon violated 15 U.S.C. § 1692e(9) by using and distributing written

communications that created a false impression as to their source, authorization, and approval to

collect, or attempt to collect, the Alleged Debt.




                                                    10
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       75. Julie Solomon violated 15 U.S.C. § 1692e(10) by making false representations and

using deceptive means to collect or attempt to collect the Alleged Debt and to obtain information

concerning the Plaintiff.


       76. Julie Solomon violated 15 U.S.C. § 1692e(14) by using a business, company, or

organization name other than the true name of the debt collector’s business, company, or

organization.


       77. Julie Solomon violated 15 U.S.C. § 1692f by using unfair or unconscionable means to

collect or attempt to collect the Alleged Debt.


       78. As a proximate result of Julie Solomon’s conduct, Plaintiff has suffered and continues

to suffer: (a) monetary damages; (b) an ascertainable loss of money or property; (c) humiliation,

mental pain and anguish; and (d) damages to his credit report and reputation, all as a direct and

proximate result of Julie Solomon’s conduct and willful, wanton and intentionally reckless

disregard for the Plaintiff’s rights.



                   CLAIM TWO - AS TO DEFENDANT SOLOMON AND SOLOMON.

Count One - Violations of Fair Debt Collection Practices Act 15 U.S.C. §1692 et seq. for
False, Misleading, and Deceptive Methods in Litigation and Collection of the Alleged Debt.

       79. Plaintiff realleges, recites, and incorporates by reference each allegation, statement,

and/or representation contained in all other paragraphs of this Complaint as if fully restated herein.


       80. Solomon and Solomon is vicariously liable for any and all of the violations of 15

U.S.C. § 1692 et seq. committed by its employees.




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      81. Solomon and Solomon has an oral or written agreement that authorizes it to represent

CitiMortgage, Inc.


      82. Solomon and Solomon authorizes its employees to execute affidavits pursuant to that

agreement.


      83. Employees of Solomon and Solomon submit such affidavits into court.


      84. As a proximate cause of the representations by Solomon and Solomon and its

employee, Julie Solomon, Plaintiff suffered and continues to suffer monetary damages.


      85. Through its willful and intentional misconduct, Solomon and Solomon directly and

proximately caused the Plaintiff humiliation, mental pain and anguish.


      86. Through its willful and intentional misconduct, Solomon and Solomon directly and

proximately caused damage to the Plaintiff’s credit report and reputation.


                                          JURY DEMAND


      87. The Plaintiff demands trial by jury for all issues so triable.




                                       PRAYER FOR RELIEF
WHEREFORE, the Plaintiff prays the following:


   1. Relief requested as to Defendant Julie Solomon:


             a. Declare that Defendant, Julie Solomon, has engaged in conduct which constitutes

                unlawful practices under FDCPA;




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      b. All such relief as is available pursuant to 15 U.S.C. 1692k(1), 15 U.S.C.

          1692k(2)(A), and 15 U.S.C. 1692k(3);


      c. Monetary damages;


      d. Statutory damages;


      e. Interest and Costs;


      f. Legal Fees;


      g. Equitable Relief;


      h. Judgment in his favor;


      i. Such other relief as the Court deems fair, just, equitable and proper under the

          circumstances.


2. Relief requested as to Defendant Solomon and Solomon:


      a. Declare that Defendant, Solomon and Solomon, has engaged in conduct which

          constitutes unlawful practices under FDCPA


      b. All such relief as is available pursuant to 15 U.S.C. 1692k(1), 15 U.S.C.

          1692k(2)(A), and 15 U.S.C. 1692k(3);


      c. Monetary damages;


      d. Statutory damages;


      e. Interest and Costs;




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  f. Legal Fees;


  g. Equitable Relief;


  h. Judgment in his favor;


  i. Such other relief as the Court deems fair, just, equitable and proper under the

     circumstances.




                                           THE PLAINTIFF

                                           _____/s/ J. Hanson Guest__________
                                           By: J. Hanson Guest Esq.
                                           Counsel to Defendant
                                           151 New Park Avenue
                                           Hartford, CT 06106
                                           (860) 231-6250 phone
                                           (860) 231-6252 fax
                                           No.: ct28167




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                      Exhibit A
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         E-Filing Home        E-File a New Case      My Shopping Cart(0)     Select Case   List My Cases    Party Search    Logout    Disclaimer
         Attorney/Firm: J GUEST(309938)                                                                                    E-Mail: attrf@aol.com
         UWY-CV09-5015402-S CITIMORTGAGE v. KLEIN,JACK
         Prefix/Suffix: [none] Case Type: C40   File Date: 10/09/2009                                   Return Date: 11/03/2009
         Case Detail       Notices         History      Processing           Scheduled Court Dates               Attorney Help Manual



                                            Select Desired Case Activity:

         Data Updated as of: 11/13/2010
                                                                  Case Information
                        Case Type: C40 - CONTRACTS - COLLECTIONS
                   Court Location: WATERBURY
                          List Type:
                   Trial List Claim:
                  Last Action Date: 11/02/2010 (Last Action Date is a data entry date, not actual date)

                                                                     Disposition Information
                Disposition Date:
                     Disposition:
             Judge or Magistrate:

                                                                     Parties & Appearances
           Party        Plaintiff/
                                                                                                                                   No Fee Party
          Number       Defendant
             01            P            CITIMORTGAGE
                                         Attorney: SOLOMON AND SOLOMON PC(421261)                       Appear Date: 10/09/2009
                                                   P.O. BOX 15019
                                                   ALBANY, NY 12212
             50            D            JACK KLEIN
                                         Attorney: J HANSON GUEST(309938)                               Appear Date: 12/14/2009
                                                  151 NEW PARK AVENUE
                                                  HARTFORD, CT 06106


                                                        Motions / Pleadings / Documents / Case Status
         Entry                  Filed
                  File Date               Description                                                                                   Arguable
         No                     By
                  10/09/2009       P      SUMMONS
                  10/09/2009       P      COMPLAINT
                  10/09/2009       P      RETURN OF SERVICE
                  12/14/2009       D      APPEARANCE
                                           Appearance
                  02/16/2010              CLAIM/RECLAIM
                                           Claim/Reclaim
                  03/18/2010              CLAIM/RECLAIM
                                           Claim/Reclaim
                  05/06/2010              CLAIM/RECLAIM
                                           Claim/Reclaim




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Case Detail - UWY-CV09-5015402-S                                            https://efile.eservices.jud.ct.gov/CaseDetail/AttyCaseDetail.aspx?Docke...
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         101.00 12/11/2009    P      MOTION FOR DEFAULT-FAILURE TO APPEAR AND JUDGMENT WITH ORDER OF                                 No
                                     PAYMENTS PB SECTION 17-23
                                      RESULT: Denied 12/28/2009 HON JOHN CRONAN, J

         101.10 12/28/2009   Court   ORDER                                                                                           No

                                      RESULT: Denied 12/28/2009 HON JOHN CRONAN, J

         102.00 12/15/2009    D      MOTION - SEE FILE                                                                               No
                                      Motion to Plead Out of Order
                                      RESULT: Granted 1/4/2010 HON ELIZABETH GALLAGHER, J

         102.10 01/04/2010   Court   ORDER                                                                                           No

                                      RESULT: Granted 1/4/2010 HON ELIZABETH GALLAGHER, J

         103.00 12/31/2009    D      NOTICE OF SERVICE OF REQUEST FOR ADMI SSION                                                     No
                                      Defendant's Notice of Request for Admissions
         104.00 01/28/2010    D      REQUEST TO REVISE                                                                               No

         105.00 02/04/2010    D      MOTION TO COMPEL                                                                                No
                                      RESULT: Denied 3/1/2010 HON BARBARA SHEEDY, J

         105.10 03/01/2010   Court   ORDER                                                                                           No

                                      RESULT: Denied 3/1/2010 HON BARBARA SHEEDY, J

         106.00 02/05/2010    D      MOTION TO DETERMINE SUFFICIENCY OF DISCOVERY RESPONSES PB CHAPTER 13                            No

                                      Motion to Determine Sufficiency of Admissions
         107.00 02/10/2010    P      REPLY                                                                                           No
                                      Response to Request for Admissions
         108.00 02/10/2010    P      REPLY                                                                                           No
                                      Response to Request for Production
         109.00 02/10/2010    P      OBJECTION TO MOTION                                                                             No
                                      Objection to Motion to Compel/Motion for Extension
                                      RESULT: Order 2/22/2010 HON BARBARA SHEEDY, J

         109.10 02/22/2010   Court   ORDER                                                                                           No

                                      RESULT: Order 2/22/2010 HON BARBARA SHEEDY, J

         110.00 03/26/2010    D      MOTION TO COMPEL                                                                                No
                                      Motion to Compel Response to Interrogatories
                                      RESULT: Denied 4/5/2010 HON WILLIAM CREMINS, J

         110.10 04/05/2010   Court   ORDER                                                                                           No

                                      RESULT: Denied 4/5/2010 HON WILLIAM CREMINS, J

         111.00 03/26/2010    D      MOTION TO COMPEL                                                                                No
                                      Failure To Comply w/ Order--Request for Production
                                      RESULT: Denied 4/12/2010 HON WILLIAM CREMINS, J

         111.10 04/05/2010   Court   ORDER                                                                                           No

                                      RESULT: Order 4/5/2010 HON WILLIAM CREMINS, J

         111.11 04/12/2010   Court   ORDER                                                                                           No

                                      RESULT: Denied 4/12/2010 HON WILLIAM CREMINS, J

         112.00 04/01/2010    D      MOTION TO COMPEL                                                                                No
                                      MOTION TO COMPEL RESPONSES TO REQUEST TO REVISE
                                      RESULT: Order 4/12/2010 HON WILLIAM CREMINS, J




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                        Case 3:10-cv-01800-WWE Document 1 Filed 11/15/10 Page 18 of 65
         112.10 04/12/2010   Court   ORDER                                                                                            No

                                      RESULT: Order 4/12/2010 HON WILLIAM CREMINS, J

         113.00 04/05/2010    P      COVER SHEET                                                                                      No
                                      Reply to Interrogatories
         114.00 04/06/2010    P      OBJECTION TO MOTION                                                                              No
                                      to Compel
                                      RESULT: Order 4/12/2010 HON WILLIAM CREMINS, J

         114.10 04/12/2010   Court   ORDER                                                                                            No

                                      RESULT: Order 4/12/2010 HON WILLIAM CREMINS, J

         115.00 04/15/2010    P      REVISED COMPLAINT                                                                                No

         116.00 04/26/2010    D      MOTION FOR EXTENSION OF TIME                                                                     No
                                      To Respond to Entry No. 110.10
                                      RESULT: Granted 5/10/2010 HON WILLIAM CREMINS, J

         116.10 05/10/2010   Court   ORDER                                                                                            No

                                      RESULT: Granted 5/10/2010 HON WILLIAM CREMINS, J

         117.00 04/30/2010    D      REQUEST                                                                                          No
                                      Request for Extension of Time (re: Entry # 115.00)
         118.00 07/01/2010    D      NOTICE OF SERVICE OF REQUEST FOR ADMI SSION                                                      No
                                      Admissions Dated July 1, 2010
         119.00 08/04/2010    P      MOTION FOR PROTECTIVE ORDER                                                                      No
                                      RESULT: Denied 8/16/2010 HON SHEILA OZALIS, J

         119.10 08/16/2010   Court   ORDER                                                                                            No

                                      RESULT: Order 8/16/2010 HON SHEILA OZALIS, J

         120.00 08/26/2010    P      MOTION FOR PROTECTIVE ORDER                                                                      No
                                      RESULT: Off 9/8/2010 HON BARBARA SHEEDY, J

         120.05 09/08/2010   Court   ORDER                                                                                            No

                                      RESULT: Off 9/8/2010 HON BARBARA SHEEDY, J

         121.00 08/26/2010    P      WITHDRAWAL OF MOTION                                                                             No

         122.00 08/26/2010    P      MOTION FOR PROTECTIVE ORDER                                                                      No
                                      RESULT: Granted 9/8/2010 HON BARBARA SHEEDY, J

         122.10 09/08/2010   Court   ORDER                                                                                            No

                                      RESULT: Granted 9/8/2010 HON BARBARA SHEEDY, J

         123.00 08/26/2010    P      EXHIBITS                                                                                         No
                                      EXHIBIT A
         124.00 08/26/2010    P      EXHIBITS                                                                                         No
                                      EXHIBIT B
         125.00 09/07/2010    D      OBJECTION TO MOTION                                                                              No
                                      Obj To Motion for Protective Order
         126.00 09/28/2010    P      REQUEST TO AMEND AND AMENDMENT                                                                   No
                                      Motion to Amend Caption
         127.00 09/28/2010    D      MOTION FOR EXTENSION OF TIME                                                                     No
                                      Mot. Ext. Time to Reargue
                                      RESULT: Denied 10/12/2010 HON BARBARA SHEEDY, J




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Case Detail - UWY-CV09-5015402-S                                                                 https://efile.eservices.jud.ct.gov/CaseDetail/AttyCaseDetail.aspx?Docke...
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         127.10 10/12/2010          Court     ORDER                                                                                                                        No

                                                RESULT: Denied 10/12/2010 HON BARBARA SHEEDY, J

         128.00 10/01/2010             D      REQUEST                                                                                                                      No
                                               Req. for Ext. Time--Plntf's Mot. to Amend Caption
         129.00 10/07/2010             D      ANSWER AND SPECIAL DEFENSE AND COUNTERCLAIM                                                                                  No

         130.00 10/22/2010             D      NOTICE                                                                                                                       No
                                               Notice of Schedule
         131.00 10/29/2010             D      NOTICE                                                                                                                       No
                                               Notice of First Interrogatories and Reqs. for Prod
         132.00 11/01/2010             D      OBJECTION                                                                                                                    No
                                               Objection to Motion to Amend Caption
         133.00 11/02/2010             D      EXHIBITS                                                                                                                     No
                                               Exhibits to Objection to Motion to Amend Caption


                                                         Individually Scheduled Court Dates as of 11/13/2010
                                                        UWY-CV09-5015402-S - CITIMORTGAGE v. KLEIN,JACK
         #          Date                      Time                     Event Description                                                                               Status
                                                                       No Events Scheduled
         Note: Other court activity may be separately scheduled on short calendars. Individually scheduled events for the Regional
         Family Trial Docket in Middletown and Complex Litigation Dockets may not be included.

         Periodic changes to terminology may be made which do not affect the status of the case.

         Disclaimer: For civil and family cases statewide, case information is displayed and is available for inquiry on this website for
         a period of time, one year to a maximum period of ten years, after the disposition date. To the extent that Connecticut
         Practice Book Sections 7-10 and 7-11 provide for a shorter period of time, this information will be displayed for the shorter
         period. In accordance with the Federal Violence Against Women Act of 2005, cases for relief from physical abuse, foreign
         protective orders, and motions that would be likely to publicly reveal the identity or location of a protected party may not be
         displayed and may be available only at the courts.


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